Case 23-15745-ABA           Doc 63
                          Filed 09/23/24 Entered 09/23/24 16:19:41                         Desc Main
                         Document
  UNITED STATES BANKRUPTCY COURT       Page 1 of 2
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)

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  856-890-9003




  In Re:                                                 Case No.:                 23-15745
                                                                            ______________________

   Brian Casto                                            Judge:                   ABA
                                                                          ______________________
   Kathleen Giovanelli
   debtors                                               Chapter:                    13




                  CHAPTER 13 DEBTOR=S CERTIFICATION IN OPPOSITION


       The debtor in this case opposes the following (choose one):

       1.       ☐ Motion for Relief from the Automatic Stay filed by _____________________________ ,
                creditor,

                A hearing has been scheduled for ____________________________, at __________.


                ☐ Motion to Dismiss filed by the Chapter 13 Trustee.

                A hearing has been scheduled for ____________________________, at ___________.


                ☐ Certification of Default filed by _______________________________,
                                                      Freedom Mortgage Corporation

                I am requesting a hearing be scheduled on this matter.


           2.   I oppose the above matter for the following reasons (choose one):

                ☐ Payments have been made in the amount of $ ___________________, but have not
                been accounted for. Documentation in support is attached.
Case 23-15745-ABA        Doc 63        Filed 09/23/24 Entered 09/23/24 16:19:41                 Desc Main
                                      Document      Page 2 of 2



              ☐ Payments have not been made for the following reasons and debtor proposes
              repayment as follows (explain your answer):




              ☐ Other (explain your answer):
              Debtors have made a payment in the amount of $4,000.00 to bring them current
              through September 2024. Regular monthly mortgage payments will resume
              October 2024.


      3.      This certification is being made in an effort to resolve the issues raised in the certification
              of default or motion.

      4.      I certify under penalty of perjury that the above is true.



Date: _______________________
      09/13/2024                                                   /s/ Brian Casto
                                                                  ______________________________
                                                                  Debtor=s Signature

      09/13/2024
Date: _______________________                                     /s/ Kathleen Giovanelli
                                                                  ______________________________
                                                                  Debtor=s Signature




NOTES:

1.    Under D.N.J. LBR 4001-1(b)(1), this form must be filed with the court and served on the Chapter
      13 Trustee and creditor, if applicable not later than 7 days before the date of the hearing if filed in
      opposition to a Motion for Relief from the Automatic Stay or Chapter 13 Trustee=s Motion to
      Dismiss.

2.    Under D.N.J. 4001-1 (b)(2), this form must be filed with the court and served on the Chapter 13
      Trustee and creditor, if applicable not later than 14 days after the filing of a Certification of
      Default.




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